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13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN JOSE DIVISION
15                                                   5:24-cv-01234-PCP
16    SUZANNE L. FLANNERY, Individually and          CLASS ACTION
      on Behalf of All Others Similarly Situated,
17                                                   MEMORANDUM OF POINTS AND
                              Plaintiff,             AUTHORITIES (i) IN FURTHER
18                                                   SUPPORT OF THE NYC FUNDS’
                v.                                   MOTION FOR APPOINTMENT AS
19
                                                     LEAD PLAINTIFF AND APPROVAL
20    SNOWFLAKE INC., FRANK SLOOTMAN,                OF LEAD COUNSEL AND (ii) IN
      and MICHAEL P. SCARPELLI,                      REPLY TO THE OPPOSITION OF
21                                                   NYSCRF
                              Defendants.
22                                                   Date: June 6, 2024
                                                     Time: 10:00 AM
23                                                   Courtroom: 8, 4th Floor
                                                     Judge: Hon. P. Casey Pitts
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     Appointment as Lead Plaintiff and Approval of Lead Counsel and (ii) in Reply to the Opposition
     of NYSCRF – 5:24-cv-01234-PCP
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2           The NYC Funds respectfully submits this memorandum of law in further support of its
 3   motion for appointment as Lead Plaintiff and approval of Lead Counsel and in reply to the
 4   opposition submitted by NYSCRF.
 5     I.    PRELIMINARY STATEMENT
 6           Congress enacted the Private Securities Litigation Reform Act (the “PSLRA”) in 1995.
 7   Less than three years later, the NYC Funds was appointed as co-Lead Plaintiff along with the
 8   California Public Employees’ Retirement System (“CalPERS”), and NYSCRF. The same
 9   NYSCRF that now opposes the appointment of the NYC Funds here worked without issue with
10   the NYC Funds – there, a group of five funds. In re Cendant Corp. Litig., 182 F.R.D. 144, 147
11   (D.N.J. 1998) (noting the group’s combined losses and finding that it had the highest financial
12   interest and was entitled to presumptive lead plaintiff status).
13           In the 25 years since, the NYC Funds has been appointed as lead plaintiff in at least ten
14   securities class actions, including two in this district, and moved for lead plaintiff in at least eight
15   others. No court has ever found that the NYC Funds is an impermissible group. To the contrary,
16   this Court has recognized that the NYC Funds is “essentially one person for purposes of the
17   Reform Act, because they are all under the jurisdiction of [the] New York City Comptroller’s
18   Office, and are represented in their dealings with private counsel through one ‘in-house’ counsel,
19   the Corporation Counsel of the City of New York.” Aronson v. McKesson HBOC, Inc., 79 F.
20   Supp. 2d 1146, 1157 & n.11 (N.D. Cal. 1999) (emphasis added). And in Juniper, this Court,
21   without hesitation, appointed 9 of the 11 NYC Funds moving here as lead plaintiff. See Garber
22   v. Juniper Networks, No. 5:06-cv-04327 (N.D. Cal. Sept. 15, 2006), ECF No. 10, see Berger
23   Decl. Ex. A at 1 (NYCERS, TRS, Fire, Police, BOE, PSOVSF, POVSF, FOVSF, and FFVSF
24   moving for lead plaintiff); Garber v. Juniper Networks, No. C06-04327 JW, 2006 WL 3365547
25   (N.D. Cal. Nov. 20, 2006) (appointing the NYC Funds as lead plaintiff).
26           NYSCRF’s argument contradicts positions it has taken in prior actions. In fact, NYSCRF
27   has moved for (and served as) lead plaintiff with the NYC Funds multiple times. See In re
28                                                1
     Memorandum of Points and Authorities (i) in Further Support of the NYC Funds’ Motion for
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 1   Cendant Corp. Litig., 182 F.R.D. at 147; In re Countrywide Fin. Corp. Sec. Litig., 273 F.R.D.
 2   586, 590 (C.D. Cal. 2009). It has never raised any of the “problems” it speculates about in its
 3   Opposition Brief (ECF No. 73) (“NYSCRF Opp. Br.”), and it has never once objected to the
 4   NYC Funds as an “impermissibly large group” or an “unwieldy amalgamation[]”, as it does now.
 5   NYSCRF Opp Br. at 1.
 6          Since the NYC Funds is a permissible group, and since it unquestionably has the “largest
 7   financial interest” in this litigation with losses of over $39.5 million and the largest of the other
 8   “Lax/Olsten” factors, see Memorandum of Points and Authorities (i) in Further Support of the
 9   NYC Funds’ Motion for Appointment as Lead Plaintiff and Approval of Lead Counsel and (ii)
10   in Opposition to Competing Motions for Lead Plaintiff and Approval of Lead Counsel (ECF No.
11   71) at 4, it is entitled to the PSLRA presumption that it is the most adequate Lead Plaintiff.
12   NYSCRF offers only speculation to rebut that presumption rather than “evidence” and “proof,”
13   as required by the PSLRA. Thus, the NYC Funds should be appointed Lead Plaintiff.
14    II.   STATEMENT OF ISSUES IN REPLY
15          1.      Whether the NYC Funds is a “person or group of persons” within the meaning of
16   15 U.S.C. § 78u-4(a)(3)(B)(i) and caselaw thereunder.
17   III.   STATEMENT OF RELEVANT FACTS
18          A.      PROCEDURAL STATUS
19          The NYC Funds filed its motion for appointment as Lead Plaintiff on April 29, 2024
20   (ECF No. 15), as did six other movants. ECF Nos. 23, 26, 29, 34, 40, & 48. Two have withdrawn
21   (ECF Nos. 70 & 80), and two have filed notices of non-opposition (ECF Nos. 56 & 69). The
22   only movant that has opposed the motion is NYSCRF. See ECF No. 71 at 3-4.
23          B.      THE NYC FUNDS
24                  1.      The Organization of the NYC Funds
25          The NYC Funds is one of the five largest public pension systems in the United States.
26   See Declaration of Daniel R. Whitman in Further Support of the Motion of the NYC Funds for
27   Appointment as Lead Plaintiff and Approval of Lead Counsel (“Whitman Decl.”), ¶ 3, submitted
28                                                2
     Memorandum of Points and Authorities (i) in Further Support of the NYC Funds’ Motion for
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 1   herewith. The NYC Funds, as that designation has been used in this and numerous other actions,
 2   encompasses five related public-employee pension systems: Teachers’ Retirement System of the
 3   City of New York (“TRS”); New York City Employees’ Retirement System (“NYCERS”); New
 4   York City Police Pension Fund (“Police”); Board of Education Retirement System of the City
 5   of New York (“BOE”); and New York City Fire Department Pension Fund (“Fire”). Thus,
 6   contrary to NYSCRF’s assertion, the NYC Funds are not “11” separate, unrelated entities.
 7   Rather, they are the five pension retirement systems, and six programs or supplemental funds
 8   which fall under the umbrella of the five overarching systems. See id. at ¶¶ 3, 6-10. These are
 9   certain investment programs and supplemental benefit funds of TRS, Police, and Fire – namely,
10   TRS Var. A (TRS); PSOVSF and POVSF (Police); and FFVSF, FOVSF and FDLIF (Fire). As
11   did their respective “parents,” each one incurred losses stemming from purchases of Snowflake
12   common stock.
13          The NYC Funds have five primary boards – one for each of the pension retirement
14   systems. The NYC Comptroller sits on the Board of Trustees for every NYC Fund. The
15   programs and supplemental funds of the five primary pension systems – i.e., TRS Var. A,
16   POVSF, PSOVSF, FFVSF, FOVSF, and FDLIF – are governed by trustees who serve on the
17   five primary boards.
18                  2.      All the NYC Funds Are Closely Related
19          The NYC Funds all operate under the auspices of the NYC Comptroller, which is the
20   Chief Financial Officer of NYC. Whitman Decl. at ¶¶ 11-12. As permitted by the NYC
21   Administrative Code, the Boards have delegated their funds’ investment authority to the
22   Comptroller. Id. at ¶ 12. See, e.g., § 13-235 (Police). The NYC Comptroller is the statutory
23   fund custodian for all entities that fall under the umbrella of the NYC Funds. Whitman Decl. at
24   ¶ 11. Specifically, the Comptroller’s Bureau of Asset Management oversees the investment
25   portfolio for each system. Id. at ¶ 12. In this role, the Comptroller provides investment advice,
26   implements board decisions, and reports on investment performance on behalf of each of the
27   City’s five pension funds. Id.
28                                                3
     Memorandum of Points and Authorities (i) in Further Support of the NYC Funds’ Motion for
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 1           Similarly, the NYC Funds are all represented by the Law Department of the City of New
 2   York (the “Law Department”). See id. at ¶¶ 2, 16. Further, under the NYC Charter, the attorney
 3   for all the NYC Funds is the Corporation Counsel of the City of New York, who is head of the
 4   Law Department. Id. at ¶ 17. The Charter provides for the Law Department and the attorneys
 5   thereof to act as counsel for the NYC Funds in litigation and to provide advice to the NYC
 6   Funds’ boards. Id. The NYC Charter further assigns the Law Department the right to institute
 7   litigation or court proceedings. To that end, the Law Department is responsible for developing
 8   a unified strategy for securities litigation on behalf of the NYC Funds. Id. at ¶ 18. The Law
 9   Department’s strategy underscores that these Funds, for the purposes of this litigation, are unified
10   in a manner that enables them to effectively serve as Lead Plaintiff.
11                  3.      The NYC Funds Has a Successful Track Record of Working
                            Cohesively and Achieving Excellent Results for the Classes It
12                          Represented
13           The NYC Funds has a history of working cohesively to achieve outstanding results for
14   aggrieved investors, and courts around the country do not hesitate to appoint them as lead
15   plaintiff. See In re Juniper Networks, Inc. Sec. Litig., No. 5:06-cv-04327 (N.D. Cal.) ($169.5
16   million); In re Wachovia Equity Sec. Litig., No. 1:08-cv-06171 (S.D.N.Y.) ($75 million); Norfolk
17   Cnty. Ret. Sys. v. Cmty. Health Sys., No. 3:11-cv-00433 (M.D. Tenn.) ($53 million). This
18   includes cases where the NYC Funds served as lead plaintiff with NSYCRF. See In re
19   Countrywide Fin. Corp. Sec. Litig., No. 07-cv-5295 (C.D. Cal.) ($625 million settlement); In re
20   Wynn Resorts, LTD. Derivative Litig., Case No. A-18-770013-B, District Court, Clark County,
21   Nevada (reaching a $41 million settlement, the largest settlement in Nevada derivative
22   litigation).
23   IV.     ARGUMENT
24           A.     THE NYC FUNDS IS A “GROUP OF PERSONS” UNDER THE PSLRA
25           The PSLRA creates a rebuttable presumption that the “person or group of persons” with
26   the largest financial interest in the litigation is the “most adequate plaintiff.” Thant v. Rain
27   Oncology Inc., No. 5:23-CV-03518-EJD, 2023 WL 7195802, at *2 (N.D. Cal. Nov. 1, 2023).
28                                                4
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 1   Thus, the language of the statute mandates that even a group of related entities with the largest
 2   financial interest be afforded the presumption of lead plaintiff. The only exception is when
 3   courts are presented with “artificial groups,” cobbled together by lawyers for the purposes of
 4   aggregating losses. For example, in In re Network Associates Inc. Securities Litig., the Court
 5   held that a “‘group’ of unrelated investors with no decision making structure and no connection
 6   other than counsel” could not qualify as a candidate for lead plaintiff. 76 F. Supp. 2d 1017, 1018
 7   (N.D. Cal. 1999); see also Eichenholtz v. Verifone Holdings, Inc., No. C07-06140MHP, 2008
 8   WL 3925289, at *8 (N.D. Cal. Aug. 22, 2008) (stating that “ignoring the basis of the group
 9   formation and appointing a group of unrelated investors undercuts the primary purpose of the
10   PSLRA: to eliminate lawyer-driven litigation.”). In Aronson v. McKesson HBOC, Inc., the court
11   succinctly identified as permissible a group which had a “meaningful relationship preceding the
12   litigation” that was “united by more than the mere happenstance of having bought the same
13   securities.” 79 F. Supp. 2d 1146, 1153 (N.D. Cal. 1999). The McKesson court noted that one
14   such group could be members of a “family” (id. at 1154) (emphasis added) – the exact term used
15   by NYSCRF to describe the NYC Funds. NYSCRF Opp. Br. at 12.
16                  1.      The NYC Funds Is a Cohesive Group, Not One “Cobbled Together”
                            by Lawyers
17

18          The NYC Funds is not a group of unrelated entities cobbled together to create an entity
19   with large losses. Instead, the NYC Funds has “a meaningful relationship preceding th[is]
20   litigation” and is “united by more than the mere happenstance of having bought the same
21   securities.” Apple v. LJ Int’l Inc., No. CV076076GAFJWJX, 2008 WL 11343371, at *3 (C.D.
22   Cal. Feb. 8, 2008) (citing McKesson, 79 F. Supp. 2d at 1153-54); see Whitman Decl. ¶¶ 4-15.
23          While NYSCRF attempts to paint the NYC Funds as “eleven independent entities,” that
24   simply is not the case. As explained supra, the NYC Funds all operate under the NYC
25   Comptroller, and share a single legal department charged with creating a “unified litigation
26   strategy” for the NYC Funds. Whitman Decl. ¶¶ 11 & 18. Even NYSCRF recognizes these
27   facts, and does not seriously argue otherwise, offering only the meek statement that these facts
28                                                5
     Memorandum of Points and Authorities (i) in Further Support of the NYC Funds’ Motion for
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 1   are “beside the point.” NYSCRF Opp. Br. at 11. And even NYSCRF does not state that the
 2   NYC Funds is a group of unrelated entities cobbled together by lawyers or make any other
 3   suggestion of “lawyer driven” litigation because it knows – in part from its own personal
 4   experience of serving as lead plaintiff with the NYC Funds – that this is simply not the case.
 5   There are no non-NYC pension entities that are a part of the group and these Funds have acted
 6   as lead plaintiff many times without any issue of manageability or otherwise, as further discussed
 7   infra.1
 8                      2.   Courts Across the Country Have Appointed the NYC Funds as Lead
                             Plaintiff
 9

10             Since the passage of the PSLRA, federal courts in multiple jurisdictions have appointed
11   the NYC Funds as Lead Plaintiff, including in cases where the NYC Funds moved with more
12   than the five principal funds. Courts in this district have appointed the NYC Funds as Lead
13   Plaintiff without any concern over how many separate entities were part of the group. See In re
14   Countrywide Fin. Corp. Sec. Litig., 273 F.R.D. 586, 590 (C.D. Cal. 2009) (NYC Funds (5) –
15   NYCERS, Police, Fire, BOE and TRS – serving as lead plaintiff, along with NYSCRF); Garber
16   v. Juniper Networks, No. C06-04327 JW (N.D. Cal. Sept. 15, 2006), ECF No. 10, see Berger
17   Decl. Ex. A at 1 (NYCERS, TRS, Fire, Police, BOE, PSOVSF, POVSF, FOVSF, and FFVSF
18   (9) moving for lead plaintiff); Juniper, 2006 WL 3365547, at *2 (appointing the NYC Funds as
19   lead plaintiff).
20             Similar decisions have been reached throughout the country. See In re AT&T Sec. Litig.,
21   No. 2:23-cv-4064 (D.N.J. Apr. 16, 2024), ECF No. 49 (appointing the NYC Funds (5) – TRS,
22   NYCERS, Police, Fire and BOE), Berger Decl. Ex. B at 1; KBC Asset Mgmt. NV v. Discover
23   Fin., No. 1:23-cv-06788 (N.D. Ill Nov. 30, 2023), ECF No. 61 (appointing the NYC Funds (4)
24

25   1
       All of the cases cited by NYSCRF claiming that there is a “no more than five” rule is in
     reference to groups of unrelated movants and are therefore irrelevant. NYSCRF Opp. Br. at 8-
26   10. And the five underlying funds that comprise the NYC Funds comport with the “no more
     than five” rule advanced by NYSCRF, to the extent such a hard and fast rule is even determined
27
     to exist. Id.
28                                                6
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 1   – NYCERS, Fire, Police and TRS), Berger Decl. Ex. C; Choi v. Coupang, Inc., No. 22-CV-7309
 2   (VSB), 2023 WL 2585979, at *4-6 (S.D.N.Y. Mar. 21, 2023) (appointing the NYC Funds (6) –
 3   TRS, NYCERS, Police, Fire, BOE, and the New York City Deferred Compensation Plan);
 4   Norfolk Cnty. Ret. Sys. v. Cmty. Health Sys., Inc., No. 3:11-CV-0433, 2011 WL 6202585, at *7
 5   (M.D. Tenn. Nov. 28, 2011), report and recommendation adopted, 2012 WL 12485 (M.D. Tenn.
 6   Jan. 3, 2012) (appointing the NYC Funds (5) – NYCERS, TRS, TRS Var. A, Police, and Fire
 7   and finding that “there is no evidence that NYC will not fairly and adequately protect the interests
 8   of the class, nor is there any evidence to show that NYC is subject to unique defenses that render
 9   it incapable of adequately representing the Class, so the presumption has not been rebutted”);
10   Lipetz v. Wachovia Corp., No. 08 CIV.6171 RJS, 2008 WL 4615895, at *1 (S.D.N.Y. Oct. 10,
11   2008) (appointing the NYC Funds (10) – NYCERS, BOE, Police, POVSF, PSOVSF, Fire,
12   FFVSF, FOVSF, TRS, TRS Var. A); In re Take Two Interactive Sec. Litig., No. 06 CIV. 1131
13   (RJS), 2010 WL 11613684, at *2 (S.D.N.Y. 2010) (appointing the NYC Funds (3) – NYCERS,
14   Police and Fire); Switzenbaum v. Orbital Scis. Corp., 187 F.R.D. 246, 251 (E.D. Va. 1999)
15   (appointing the NYC Funds (5) – NYCERS, Fire, BOE, PSOVSF, and FFVSF and finding that
16   the NYC Funds “appears best capable of providing adequate representation, having made a
17   preliminary showing (1) that its five members have established mechanisms for making sound
18   collective decisions together; and (2) that the New York City Office of Corporation Counsel can
19   monitor its actions and those of its proposed Lead Counsel.”); In re Cendant, 182 F.R.D. at 147-
20   49 (appointing the New York City Pension Funds as lead plaintiff, along with CalPERS and
21   NYSCRF).
22          In none of these cases did the court hesitate to appoint the NYC Funds because it
23   represented an impermissible group, an unmanageable group, an oversized group, or a lawyer-
24   driven group.
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28                                                7
     Memorandum of Points and Authorities (i) in Further Support of the NYC Funds’ Motion for
     Appointment as Lead Plaintiff and Approval of Lead Counsel and (ii) in Opposition to
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                    3.     No Court Has Ever Held that the NYC Funds Is an Impermissible
 1
                           Group
 2

 3          The NYC Funds has moved to serve as lead plaintiff in at least 8 other actions, but was

 4   not appointed. But even in those actions, neither its status as a PSLRA “group” nor any of

 5   NYSCRF’s manufactured challenges factored into the appointment of another lead plaintiff

 6   movant.

 7          In the bulk of those cases, the NYC Funds simply had lower losses than other movants.

 8   The structure of the NYC Funds was not an issue, nor was efficiency or manageability. See

 9   Washtenaw Cnty. Employees’ Ret. Sys. v. Dollar Gen. Corp., No. 3:23-CV-01250, 2024 WL

10   1468982, at *2-3 (M.D. Tenn. Apr. 4, 2024) (appointing group of “distinct private entities”

11   where the NYC Funds had lower losses); Crews, Jr. v. Rivian Auto., Inc., et al, No. 2:22-cv-

12   01524 (C.D. Cal. May 11, 2022), ECF No. 72 (NYC Funds recognizing that they did not have

13   the largest financial interest and withdrawing), see Berger Decl. Ex. D; Hedick v. Kraft Heinz

14   Co., No. 19-CV-1339, 2019 WL 4958238, at *4-7 (N.D. Ill. Oct. 8, 2019) (appointing other

15   groups where NYC Funds had unique issues arising from acquisition of shares through a

16   merger); Sjunde AP-Fonden et al. v. Gen. Elec. Co., et al., No. 1:17-cv-8457 (S.D.N.Y. June 5,

17   2018), ECF No. 140 at 2 (noting that the NYC Funds had lower losses than other movants), see

18   Berger Decl. Ex. E at 4; In re Am. Realty Cap. Litig., No. 1:14-cv-8659 (S.D.N.Y. Feb. 10, 2015),

19   ECF No. 106 at 8 (same), see Berger Decl. Ex. F at 8; Jahm v. Bankrate, Inc., No. 14-CV-81323,

20   2015 WL 13650037, at *2-3 (S.D. Fla. Jan. 16, 2015); In re McKesson HBOC, Inc., Sec. Litig.,

21   97 F. Supp. 2d 993, 997-1000 (N.D. Cal. 1999) (choosing NYSCRF over NYC Funds based on

22   calculated losses). NYSCRF itself recognizes that in the two cases where the components of the

23   NYC Funds were identical to those here, the lead plaintiff was chosen based upon recognized

24   losses. See NYSCRF Opp. at 10 (citing Rivian Auto, No. 2:22-cv-01524 (C.D. Cal. May 6, 2022)

25   and Hedick v. Kraft Heinz Co., et al., No. 1:19-cv-01339 (N.D. Ill. Apr. 25, 2019)). Notably,

26   the courts never took issue with the NYC Funds’ status as a group.

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28                                                8
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 1          In addition, the NYC Funds’ status as a cohesive group for purpose of acting as lead
 2   plaintiff was recently confirmed by the Court of Chancery of the State of Delaware. While not
 3   an action under the PSLRA, that derivative action is being led by the NYC Funds and Oregon
 4   State, who moved jointly to be appointed as lead plaintiff. See In re Fox Corp. Deriv. Litig.,
 5   Consol. C.A. No. 2023-0418-JTL (Del. Ch. 2023). Although decided under a different standard,
 6   the Vice Chancellor Laster noted that one movant was “comprised of five funds overseen by the
 7   New York City Comptroller: the New York City Employees’ Retirement System, the New York
 8   City Board of Education Retirement System, the New York City Fire Department Pension Fund,
 9   the New York City Police Pension Fund, and the New York City Teachers’ Retirement System
10   (collectively, the ‘NYC Funds’).” Id. at 5. The Court then found persuasive that “[t]he NYC
11   Funds fall under the purview of the New York City Comptroller, who is the chief financial officer
12   of New York City. The Comptroller and his department have obvious financial expertise. The
13   Comptroller’s Office also includes a Corporate Governance and Responsible Investment Group
14   with expertise in corporate governance. Two attorneys in the Affirmative Litigation Division of
15   the Law Department of the City of New York supervise the lawsuits that the NYC Funds bring.”
16   Id. at 22. The NYC Funds will bring to this case the same cohesiveness and experience that the
17   Court of Chancery found compelling.
18          B.      NYSCRF ITSELF HAS RECOGNIZED THAT THE NYC FUNDS IS A PROPER
                    GROUP
19
20          NYSCRF has never before taken the position that the NYC Funds is not an adequate lead
21   plaintiff. As noted supra, NYSCRF, the NYC Funds and CalPERS voluntarily acted together as
22   co-lead plaintiffs in In re Cendant, 182 F.R.D. at 147. NYSCRF did not assert any of the
23   challenges it suddenly foresees here and worked not only with the NYC Funds, but also with
24   CalPERS, in this significant securities fraud litigation. Similarly, in McKesson, the court
25   narrowed the Lead Plaintiff field to NYSCRF and the NYC Funds – which encompassed eight
26   entities – ultimately choosing NYSCRF because it had greater losses. McKesson, 97 F. Supp.
27   2d at 1000. Neither the court nor NYSCRF raised any issue regarding the ability of the NYC
28                                                9
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 1   Funds to act as lead plaintiff there. To the contrary, the court recognized the NYC Funds as
 2   “essentially one person for purposes of the Reform Act” because of the common control and
 3   representation of all the funds as has been detailed herein. Id. at 1157 & n.11. And in
 4   Countrywide, where Judge Pfaelzer appointed a lead plaintiff group consisting of NYSCRF and
 5   the New York City Pension Funds (which Judge Pfaelzer deemed to be a “group of related
 6   funds”), NYSCRF had no issue regarding the status of the NYC Funds as a group. See In re
 7   Countrywide, 273 F.R.D. at 590. In its class certification decision, the Countrywide Court noted
 8   the appropriateness of treating New York City and New York State funds as one lead plaintiff:
 9   “[T]here is one lead plaintiff under the [PSLRA]: an individual, an institution or a properly-
10   constituted group.” Id. at 590 n.5. The Countrywide Court further stated: “The lead plaintiff in
11   this case is a group constituted of these New York entities. These New York entities had
12   relationships prior to litigation and are a self-constituted group, not one artificially created by
13   the Court.” Id. If the NYC Funds and NYSCRF together form a permissibly cohesive group,
14   surely the NYC Funds do alone.
15          Further, NYSCRF and the NYC Funds recently were court-appointed lead plaintiffs in a
16   derivative action against certain officers and directors of Wynn Resorts Ltd. See In re Wynn
17   Resorts, LTD. Derivative Litig., Case. No. A-18-770013-B, Eighth Judicial District Court, Clark
18   County, Nevada. The ten NYC Funds in that case, with whom NYSCRF had no issue working,
19   were: NYCERS, Police, POVSF, PSOVSF, Fire, FFVSF, FOVSF, BOE, TRS and TRS Var. A
20   – all present here. The case presented no manageability issues of the sort NYSCRF imagines
21   and the NYC Funds and NYSCRF achieved an excellent result.
22          NYSCRF has also partnered with groups of other public pension funds, successfully, and
23   without issue, when it suited them. For example, in In re BP, PLC Sec. Litig., 758 F. Supp. 2d
24   428, 442 (S.D. Tex. 2010), NYSCRF moved, and was appointed as co-lead plaintiff with, the
25   State of Ohio Retirement Funds. In appointing NYSCRF as lead plaintiff along with Ohio, the
26   BP Court expressly noted that Attorney General Richard A. Cordray was statutory litigation
27   counsel for four separate Ohio funds: the Ohio Public Employees Retirement System, the State
28                                               10
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 1   Teachers Retirement System of Ohio, the School Employees Retirement System of Ohio, and
 2   the Ohio Police & Fire Pension Fund. Id. at 432 n.1. NYSCRF had no problem with that. And,
 3   as noted earlier, NYSCRF had no issue working with the NYC Funds in Countrywide. See
 4   Section IV(A)(2), supra.
 5          C.      NYSCRF HAS NOT COME FORWARD WITH ANY EVIDENCE THAT THE
                    NYC FUNDS IS AN INADEQUATE GROUP
 6

 7          The PSLRA requires “proof” that a presumptive lead plaintiff “will not fairly and

 8   adequately protect the interests of the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II). Regarding the

 9   NYC Funds, there is no such proof, and NYSCRF has offered none. Its arguments are pure

10   speculation and must be rejected, as this Court has held that the lead plaintiff presumption cannot

11   be rebutted by mere speculation. See, e.g., Kusen v. Herbert, No. 23-CV-02940-AMO, 2023

12   WL 8171736, at *6 (N.D. Cal. Nov. 24, 2023) (holding that “questions” as to whether a lead

13   plaintiff movant will adequately represent the class “do not constitute proof, and only proof will

14   suffice to disturb the lead plaintiff presumption.”); Weston v. DocuSign, Inc., No. 22-CV-00824-

15   WHO, 2022 WL 1301770, at *5 (N.D. Cal. Apr. 18, 2022) (declining to credit competing

16   movant’s arguments that the presumptive lead plaintiff was inadequate because such arguments

17   were wholly speculative, and appointing the presumptive lead plaintiff as lead plaintiff for the

18   class); see also In re Diamond Foods, Inc., Sec. Litig., 281 F.R.D. 405, 412 (N.D. Cal. 2012)

19   (appointing movant with largest financial interest as lead plaintiff because competing movant

20   who attempted to rebut the presumption did not “offer[] sufficient proof beyond mere

21   speculation” that the presumptive lead plaintiff could not “fairly and adequately protect the

22   interests of the class.”); Leventhal v. Chegg, Inc., No. 5:21-CV-09953-EJD, 2022 WL 4099454,

23   at *3 (N.D. Cal. Sept. 7, 2022) (“The PSLRA requires ‘proof’ to overcome the presumption

24   entitling the plaintiff with the largest financial interest in the litigation to appointment as lead

25   plaintiff; speculative assertions are insufficient.”) (citing Doherty v. Pivotal Software, Inc., No.

26   3:19-CV-03589-CRB, 2019 WL 5864581, at *6 (N.D. Cal. Nov. 8, 2019)). Absent actual proof

27   that NYC Funds – the lead plaintiff movant with the largest financial interest in the present action

28                                               11
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 1   – does not satisfy the requirements of Fed. R. Civ. P. 23, the NYC Funds “must be selected as
 2   lead plaintiff.” In re Mersho, 6 F.4th 891, 899 (9th Cir. 2021) (emphasis added).
 3           The NYC Funds submit proof that demonstrates it is the presumptive Lead Plaintiff and
 4   is capable of working cohesively to achieve an excellent result for Snowflake’s aggrieved
 5   investors. While NYSCRF speculates that there may be disagreements among the NYC Funds,
 6   the evidence before the Court is that the NYC Law Department “is responsible for developing a
 7   unified litigation strategy on behalf of all of the NYC Funds. In all instances of securities
 8   litigation, the participating funds pursue the unified litigation strategy carried out by the attorneys
 9   in the Affirmative Litigation Division in the Law Department, who oversee all the City’s
10   securities litigation.” Whitman Decl. ¶ 18 (emphasis added).
11           Further, the “evidence” submitted by NYSCRF supports, not refutes, a finding that the
12   NYC Funds is the presumptive Lead Plaintiff. For instance, NYSCRF has submitted
13   declarations previously submitted by representatives of the NYC Law Department in connection
14   with lead plaintiff motions, cherry-picking phrases within the declarations to manufacture the
15   illusion that the NYC Funds is a disjointed group. A review of the entirety of those exhibits
16   demonstrates the opposite. For instance, in Exhibit B to the Declaration of David R. Kaplan in
17   Support of the Memorandum of Points and Authorities in Further Support of NYSCRF’s Lead
18   Plaintiff Motion (“Kaplan Decl.”), NYSCRF attached as “proof” that the NYC Funds is an
19   “impermissible group” the Supplemental Declaration of Alan H. Kleinman (“Kleinman Decl.”).
20   In provision 8 of the Kleinman Decl., NYSCRF highlighted in yellow the following: “each fund
21   plaintiff has a Board that must authorize the Law Department to assert legal claims and approve
22   any settlement brought under the securities laws” in an attempt to minimize the succeeding
23   sentence: “the legal representation of each NYC Fund . . . is overseen and conducted by the
24   Law Department” which it selectively chose not to highlight. But read in its entirety, provision
25   8 of the Kleinman Decl. actually supports the conclusion that the NYC Funds’ is an adequate
26   Lead Plaintiff because its single legal representative – the NYC Law Department – demonstrates
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28                                               12
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 1   its cohesion. See generally Whitman Decl. ¶¶ 17-18, 20. Contrary to NYSCRF’s vapid assertion
 2   that this is “beside the point,” it is exactly the point.
 3           As stated earlier, NYSCRF has served as lead plaintiff with the NYC Funds and together,
 4   they successfully prosecuted the actions and achieved excellent results. Supra III(B)(3). Despite
 5   having firsthand experience working with the NYC Funds, NYSCRF cannot point to any actual
 6   evidence – from these or any of the 10 cases where the NYC Funds were appointed as lead
 7   plaintiff – that demonstrates the size of the group presented any issue in the conduct of the action.
 8   Instead, NYSCRF resorts to hypotheticals, fabricating a scenario in which the structure of the
 9   NYC Funds might theoretically serve as an obstacle to reaching settlement. NYSCRF Opp. Br.
10   at 3. But these speculations are belied by the actual evidence from the NYC Funds’ cases.
11   Because NYSCRF offers only speculation in its attempt to rebut the presumption that NYC
12   Funds is the Lead Plaintiff, its arguments should not be credited.
13           D.      THE CASES CITED BY NYSCRF ARE INAPPOSITE
14           The cases cited by NYSCRF are not factually analogous and do not alter the conclusion
15   that the NYC Funds is the presumptive Lead Plaintiff. That is because the cases NYSCRF cites
16   involved movants cobbling together unrelated entities to form an impermissible group. In
17   Koffsmon v. Green Dot Corp., No. CV 19-10701 DDP (EX), 2022 WL 170636, at *2 (C.D. Cal.
18   Jan. 19, 2022), a case that NYSCRF cites repeatedly, the NYC Hotel Fund argued that no
19   individual member of a competing lead plaintiff group had greater losses. However, in Green
20   Dot, the three members of the competing group were unrelated and that fact was the primary
21   basis for the decision. Id. at *2. In ruling on a motion for reconsideration, the court stated that
22   its decision was premised on the fact that “there was no pre-existing relationship” among the
23   members of the group, which had been assembled by lawyers. Under those circumstances, the
24   court held that allowing the group “to aggregate its members’ losses would be to undermine the
25   PSLRA’s objective of preventing lawyer-driven litigation.” Koffsmon v. Green Dot Corp., No.
26   CV 19-10701 DDP (EX), 2021 WL 3473975, at *3 (C.D. Cal. Aug. 6, 2021).
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 1          Similarly, in Apple, the Central District of California stated that, “District Courts in the
 2   Northern District of California have held that an appropriate group is one whose members had
 3   ‘a meaningful relationship preceding the litigation’ and were ‘united by more than the mere
 4   happenstance of having bought the same securities.’” 2008 WL 11343371, at *3 (quoting
 5   McKesson, 79. F. Supp. 2d at 1153-54). The Apple Court further cited to McKesson for the
 6   proposition that a lead plaintiff should be “an individual person or entity, or at most, a close knit
 7   ‘group of persons’” and that an “appropriate group” might be “members of a family.” See id.
 8   Relying on McKesson, the Apple Court declined to appoint a group about which it had serious
 9   reservations regarding its certifications, control over counsel, scope of authority and other issues.
10   Id. at *4. None of those facts are present here.
11          Similarly inapposite is Schriver v. Impac Mortgage Holdings, No. SACV 06-31 CJC
12   RNBX, 2006 WL 6886020, at *6, 7 (C.D. Cal. May 2, 2006). There, the court refused to appoint
13   a lawyer-created amalgamation of unrelated investors, finding this would lead to lawyer driven
14   litigation and lack of oversight. Notably, the rejected group had been formed by lawyers after
15   all lead plaintiff motions had been filed to create a group of totally unrelated entities with the
16   largest losses. Id. at *4, 8; see also Bristow v. Sunpower Corp., No. 16-CV-04710-RS, 2016 WL
17   11741569, at *2 (N.D. Cal. Dec. 9, 2016) (“The SunPower Investor Group cannot get around the
18   fact that it is composed of separate individual investors who had no connection prior to this
19   litigation.”); Burns v. UP Fintech Holding Ltd., No. CV 23-4842-CBM-BFMX, 2024 WL
20   387261, at *3 (C.D. Cal. Jan. 30, 2024) (movants had no pre-litigation relationship); Ben v.
21   Frontier Fin. Corp., No. 10-0696-JCC, 2010 WL 11684329, at *3 (W.D. Wash. Aug. 3, 2010)
22   (the losing group did not dispute nor did “it provide any independent reason why it should be
23   treated as a group or why its members’ losses should be aggregated:); Fialkov v. Celladon Corp.,
24   No. 15CV1458 AJB (DHB), 2015 WL 11658717, at *4 (S.D. Cal. Dec. 9, 2015) (refusing to
25   appoint a group comprised of several individual investors with no pre-existing relationship).2
26
     2
       Considering this caselaw, NYSCRF’s argument that “a preexisting relationship or shared
27
     counsel” is irrelevant is completely wrong. NYSCRF Opp. Br. at 11.
28                                               14
     Memorandum of Points and Authorities (i) in Further Support of the NYC Funds’ Motion for
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 1   Thus, none of the cases cited by NYSCRF undercuts that the NYC Funds is the presumptive
 2   Lead Plaintiff.
 3    V.    CONCLUSION
 4          For the foregoing reasons, and for the reasons explained in its Motion, Opposition and
 5   accompanying exhibits, the NYC Funds respectfully requests that the Court appoint the NYC
 6   Funds as Lead Plaintiff for the Class and approve its selection of Grant & Eisenhofer as Lead
 7   Counsel.
 8   Dated: San Francisco, California                   Respectfully submitted,
 9   May 20, 2024
                                                        /s/ M. Elizabeth Graham
10
                                                        M. Elizabeth Graham (Cal. Bar Id. 143085)
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20
                                                        Counsel for the NYC Funds and Proposed
21                                                      Lead Counsel for the Class
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